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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION

 RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

         Individual and Representative Plaintiffs,
                                                     ADMINISTRATIVE MOTION TO
    v.                                               EXPEDITE BRIEFING SCHEDULE AND
                                                     SET HEARING
 META PLATFORMS, INC.,

                                      Defendant.



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       Plaintiffs seek expedited briefing and, if the Court believes it would assist the Court, a

hearing on the Motion to Amend Case Management Schedule (“Scheduling Motion”).

Specifically, Plaintiffs seek an order scheduling the deadline for Defendant Meta Platforms, Inc.’s

Response to the Scheduling Motion no later than 3 p.m. pacific time on Wednesday, October 2,

2024; and a hearing on the Scheduling Motion during the Court’s Zoom law and motion calendar

at 2 p.m. pacific on Thursday, October 3 (or, alternatively, at the 10 a.m. in-person calendar on

October 3).

       The Court has explained this case is very “important for the proposed class” of U.S.

copyright holders, who stand on the precipice of losing control over, and the economic value of,

their intellectual property on a massive scale due to the race to scale AI by companies like Meta.

Declaration of Maxwell V. Pritt in Support of Plaintiffs’ Motion to Amend Case Management

Schedule (“Pritt Decl.”), Ex. B (9/20 Hr’g Tr.) at 15:12-16. And because AI is rapidly proliferating

across every aspect of daily life, this proceeding presents “an important societal issue.” Id.

       The close of fact discovery under the Court’s initial case management schedule, ECF No.

87, is scheduled for today, September 30, 2024. Plaintiffs have renewed their motion to amend

that and other deadlines and seek an expedited schedule and hearing to obtain the Court’s guidance

on the scope and timing of additional discovery in this case. As explained in the Scheduling

Motion, the Court indicated that it would consider extending the discovery period “with a newly

constituted legal team” working for Plaintiffs and an articulation of “what’s missing that is

important to the fair use issue at summary judgment.” Pritt Decl., Ex. B at 39:15-22. The Court

also directed Defendant “to identify the issues that we need to . . . deal with at summary judgment.”

Id. at 45:17-23.

       Plaintiffs respectfully submit that they will suffer substantial harm and prejudice if the

briefing and hearing on the Scheduling Motion are not expedited. Without a sufficient extension

of the initial case management deadlines, Plaintiffs will not be able to rectify deficiencies in the

record on the issue of fair use and the other many issues that Defendant has now made clear that

it intends to raise at summary judgment, contrary to the Court’s (and Plaintiffs’) assumption that


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summary judgment proceedings were limited to the fair-use issue. Id. ¶ 5. The nature of the harm

and underlying dispute are further addressed in the Scheduling Motion. Without the relief

Plaintiffs request, Plaintiffs and its added counsel at Boies Schiller Flexner LLP will lack a forum

to obtain the Court’s guidance on proceeding expeditiously with additional fact and expert

discovery, and the Court will lack a forum to speak directly to the parties concerning the scope of

summary judgment. See L.R. 6-3(d) (no automatic hearing associated with administrative motion

to change time). This Court, of course, retains its inherent authority to decide the Scheduling

Motion without a hearing (and without waiting for a response from Meta, which already briefed

Plaintiffs’ previous motion for an extension and stated its position at the September 20, 2024

hearing on that motion), and if the Court grants the Motion then the relief requested herein would

be moot.

       The parties met and conferred concerning a potentially expedited deadline for Defendant’s

Response to the Scheduling Motion and scheduling of a hearing on that motion. See Pritt Decl.

¶ 13. But no agreement was reached before the filing of the Scheduling Motion or this motion.

See id., Ex. C.

       There have been no other time modifications in the case, whether by stipulation or Court

order, except a 14-day extension for purpose of taking depositions that could not be scheduled

before the September 30, 2024, discovery cut-off under the initial case management schedule. Id.

¶ 3. Further, ordering an expedited briefing and hearing schedule will have no undesirable effect

on the case schedule as it will only hasten clarification of the scope and timing of the remaining

deadlines.

       For the foregoing reasons, Plaintiffs request the court schedule the deadline for Defendant’s

Response to the Scheduling Motion no later than 3 p.m. pacific on Wednesday, October 2, and

schedule a hearing, if any, on the motion for the Court’s scheduled Zoom civil law and motion

calendar at 2 p.m. pacific on Thursday, October 3 (or, alternatively, the Court’s in-person calendar

at 10 a.m. on October 3).




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Dated: September 30, 2024                    Respectfully submitted,
                                             BOIES SCHILLER FLEXNER LLP


                                             /s/ Maxwell V. Pritt

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